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                         EXHIBIT 16
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                                             Hyannis Air Service, Inc.
                                               660 Barnstable Road
                                               Hyannis, MA 02061
                                                                2018


        PRIVATE AND CONFIDENTIAL
        John D. Kelly
        Andrea Collingwoo4
        60 Thompson Aveni e, Hangar #3
        East Haven, CT 06512

        Re:     Shoreline Ai iation, Inc. (the "Company")

        Dear John and Andr a:

        This letter confirms , our and our mutual intention to enter into good faith negotiations with a
        view to entering into an agreement for the acquisition by Hyannis Air Service, Inc. (the "Buyer")
        of the Company, of vhich John D. Kelly and Andrea Collingwood are the sole stockholders
        (collectively, the "Slackholders"). Although the final structure of the transaction will be
        determined by the p rties after diligence, you have advised us that the Company envisions
        creating an employe stock ownership plan (the "Shoreline ESOP") prior to the transaction and
        that therefore amerr of the Company into the Buyer would he your preferred structure.

        1.      Price and Te ins. Subject to diligence, we envision that the principal terms of the
        proposed transaction would be substantially as follows:

        (a)     Merger. The Company would merge into the Buyer, with the Buyer being the surviving
        entity (the "Merger"). All of the shares of stock of the Company would be extinguished in the
        Merger.

        (h)     Consideratie    .The consideration (the "Consideration") to be paid to the stockholders of
        the Company in the 4erger would he an aggregate of $5,000,000, consisting of $3,000,000 of
        either cash, or the as umplion of indebtedness at the closing, and $2,000,000 payable over five
        (5) years on terms to be determined. Any debt to be assumed pursuant to the immediately
        preceding sentence shall not he deemed to include any financing owed on the Company's aircraft
        and obligations under the existing Tweed N. H. airport lease, and shall be limited, subject to
        completion of the Bi yer's diligence, to shareholder loans. Any indemnification obligations of the
        Stockholders, after erification, shall be adjusted against the Buyer's obligations under the
                            '



        purchase money Note. As apost-closing adjustment, there will be anet working capital
        adjustment (either p')sitive or negative) on adollar-for-dollar basis to reflect the variation of the
        net working capital     of the closing date from an agreed upon target to be determined during the
        diligence process. For purposes of the net working capital adjustment, current assets shall
        exclude accounts receivable over 90 days, and current liabilities shall include prepaid tickets.




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                                                                                                                   EXHIBIT
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       (c)      Obligations   be Extinguished. Prior to or simultaneously with the closing, the
       Company would cxi nguish all of its debts other than (I) trade payables, (ii) indebtedness on
       terms satisfactory to he Buyer, not to exceed $1,5000,000, resulting from the Shoreline ESOP,
       and (iii) the financi  on the Company's aircraft. All related party contracts would be
       terminated, and any oans or advances from the Company to either Stockholder shall be repaid.

       (d)     [Retained A• bets and Liabilities. The Stockholders shall retain the balance sheet assets
       and liabilities as md ated on Exhibit A.] TBD

       (e)     Employment John D. Kelly will enter into athree-year employment agreement with the
       Buyer and will be p dasalary of        '   annually . He will also be entitled to receive such
       benefits as are custo tarily provided from time-to-time to senior management employees of the
       Buyer. Following ti three-    year employment term, he will be engaged as aconsultant for two
       (2) years on terms t. be mutually agreed upon. It is understood that his employment shall be full
       time from May 1to ept 30 of each year with 3-4 months off during the winter months.

           Andrea Collingv   od shall also be employed in her current capacity for aminimum of three
       years from the date   sale at asalary of        annually.

      (0      Non-Cornpi 1. As part of the Consideration otherwise payable hereunder, the
      Stockholders will ex cute and deliver to the Buyer anon-competition agreement for aterm of
      five (5) years follow ig the closing date. Agreement to be conditioned upon and subject to
      Buyer's performanc under deferred consideration payment obligation and employment
      agreement.

      (g)     Due Diligen Review. Promptly following the execution of this letter of intent, the
      Stockholders and th Company will cooperate with the Buyer and will allow the Buyer full
      access upon reasona le notice and during normal business hours to the Company's facilities, and
      to meet with the Coj pany's employees, to examine, the Company's financial, accounting and
      other records, to exa 'ine the contracts and other legal documents affecting the Company, and
      generally to conduct icommercial, accounting and legal investigation of the Company. All
      results of such due d igence reviews must be satisfactory to the Buyer.

         The Nondisclos: eagreement previously executed by Buyer shall survive and remain in full
      force and effect dun gthis process.

      (h)    Thipgany()nsents and Approvals. The Company shall obtain all third-party consents
      necessary for the Mt ger without giving any such third-party default or termination rights, all in
      form and substance tisfactory to the Buyer.

      (i)    Conduct in t.,.:: dinary Course. The Company shall conduct its business in the ordinary
      course during the pe: od between the date of this letter of intent and the closing date.




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       2.      DetiitveA reement. All of the terms and conditions of the proposed transaction would
       be stated in adefinit ye written agreement (the "Definitive Agreement") containing, among other
       things, customary re )resentations and warranties by the Stockholders concerning the Company's
       business, and customary provisions for setoff and indemnification by the Stockholders, all to be
       negotiated, agreed t and signed by the Company, the Stockholders and the Buyer. The
       Definitive Agreemeflt will include as acondition to the Buyer's obligation to consummate the
       Merger that all gove -nmental approvals necessary for the Buyer to operate ascheduled seaplane
       service from Boston to New York City shall have been obtained and not be subject to further
       appeal.

       3.       Exclusive N& aotiating Rights. In order to induce the Buyer to commit the resources,
       forego other potenti Iopportunities, and incur the legal, accounting and incidental expenses
       necessary properly t3evaluate the possibility of acquiring the Company, and to negotiate the
       terms of, and consw imate, the transaction contemplated hereby, the Stockholders and the
       Company agree that for aperiod of ninety (90) days after the date of your acceptance of this
       letter of intent (a) none of the Stockholders or the Company, nor any of their representatives,
       shall, directly or md reedy, negotiate or offer to negotiate or discuss with, solicit or initiate, or
       entertain or encoura esubmission of inquiries, proposals or offers from any third party with
       respect to the dispos tion of the stock of the Company, the Company's business or any portion
       thereof, whether by he sale of such stock, sale of assets, merger or some other means that results
       in achange of control of the Company, its business or its assets (an "Acquisition Proposal") and
       (b) the Stockholders and the Company shall promptly notify the Buyer of the terms of any
       inquiry or proposal I  hat any of the Stockholders or the Company may receive with respect to any
       Acquisition Proposa and of the Stockholders' or the Company's response thereto. The ninety
       (90) day period may be extended by the Buyer for an additional fifteen (15) day period as long as
       the Buyer has comp, ted asubstantial amount of its due diligence and integrative planning, and
       the Definitive Agreement has been substantially negotiated. The Buyer will use its best efforts to
       complete all due dili ence within sixty (60) days from when the Buyer receives all due diligence
       information requested, and all parties hereto will use their best efforts to negotiate and agree
       upon the terms of th Definitive Agreement within sixty (60) days and to close the acquisition
       within ninety (90) d ys from the date hereof.

       The Stockholders and the Company represent that none of them is currently bound by any
       contract or understa ding with any other third party concerning an Acquisition Proposal and that
       the execution and delivery of this letter of intent by them does not violate any other obligations
       or commitments cur ently binding on them.

       4.     Expenses. Tie Buyer and the Seller shall each be responsible for their respective
       expenses incident to this letter of intent, the Definitive Agreement and the transaction
       contemplated hereb and thereby.

       5.     Public Anne ncements. Neither party will make any disclosure of the transaction
       contemplated by thi letter of intent without the prior written approval of the other, which
       approval will not be unreasonably withheld or delayed, except that either party may make such



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       disclosure, without econsent of the other party, if, in the opinion of such party's counsel,
       disclosure is require by Jaw or regulatory rules governing disclosure of information by such
       party. Notwithstan ag the foregoing, the parties shall have the right to disclose the terms of this
       transaction to their spective attorneys, accountants, lenders, advisors, stockholders, officers,
       employees, director, and agents on aneed-to-know basis.

       6.      Broker's Fe     The Stockholders and the Buyer have represented to each other that no
                                  .



       brokers or finders h: %
                             ,ebeen employed who would be entitled to afee by reason of the
       transaction contemp ited by this letter of intent.

       7.        pBindipt )bligation. Except for the provisions of Subsection 1(g) (Due Diligence
       Review), Section 3 .xclusive Negotiating Rights), Section 4(Expenses), Section 5(Public
       Announcements) ar Section 6(Broker's Fees), this letter of intent does not constitute or create,
       and shall not be dee :ed to constitute or create, any legally binding or enforceable obligation on
       the part of any party othis letter of intent. No such obligation shall he created, except by the
       execution and deliv yof the Definitive Agreement containing such terms and conditions of the
       proposed transactio as shall be agreed upon by the parties, and then only in accordance with the
       terms and condition. of such Definitive Agreement.

       8.      Assignment. The Buyer may assign its rights hereunder to an affiliate but all post-closing
       obligations owed to tockholders shall be guaranteed by Buyer.

       This letter will auto atically expire and be of no further force or effect at 5:00 p.m, E.S.T. on
                     ,2018i not accepted by the Stockholders and the Company prior to that time.
       If the foregoing tern ; and conditions are acceptable to you, please so indicate by signing the
       enclosed copy of thi letter and returning it to the attention of the undersigned.

       Very truly yours,

       HYANNIS AIR SFJ VICE. INC.
                      nke




      By:
                      20180303   1325
                      -05 ,00'


      Name: Michael                Mi g1icr e
      Title:  CFO




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       ACCEA1 ED AND .tR1ED ON 5March, 2018:



       John a, Kelly



       Andrea Collingwoo.

       SHORELINE AVIA 1)ON, INC.


       By
       Name: bh/ D. Kell
       Title: PPedent




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                                           Exhibit A
                                 [Retained assets and liabilities]




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